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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY
________________________________

KEVIN STRAWBRIDGE,
                                        Civil No. 16-1378 (NLH/KMW)

                 Plaintiff,             MEMORANDUM OPINION & ORDER
v.

CHERRY HILL FBI OFFICE and
PATCO (port authority),

               Defendants.
__________________________________

APPEARANCES:

Kevin Strawbridge
1200 West Park Ave.
Lindenwold, NJ 08021

     Plaintiff Pro Se


HILLMAN, District Judge:

     This screening follows the filing of Plaintiff Kevin

Strawbridge’s complaint and in forma pauperis (IFP) application

[Doc. No. 1].    For the following reasons, the Court will grant

Plaintiff’s application to proceed IFP and dismiss Plaintiff’s

complaint without prejudice.

     Under the Prison Litigation Reform Act (PLRA) the Court,

prior to docketing or as soon as practicable after docketing,

must also review the complaint in a civil action in which a

plaintiff is proceeding in forma pauperis.        See 28 U.S.C. §

1915(e)(2)(B).    The PLRA requires the Court to sua sponte


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dismiss any claim if the Court determines that it is frivolous,

malicious, fails to state a claim on which relief may be

granted, or seeks monetary relief from a defendant who is immune

from such relief.    Id.   A “document filed pro se is to be

liberally construed, . . . and a pro se complaint, however

inartfully pleaded, must be held to less stringent standards

than formal pleadings drafted by lawyers[.]”         Erickson v.

Pardus, 551 U.S. 89, 94 (2007) (citations and internal quotation

marks omitted); see also Haines v. Kerner, 404 U.S. 519, 520

(1972).

     In considering whether the plaintiff’s complaint fails to

state a claim, the Court must accept all well-pleaded

allegations in the complaint as true and view them in the light

most favorable to the plaintiff.        Evancho v. Fisher, 423 F.3d

347, 350 (3d Cir. 2005); see also Phillips v. Cnty. of

Allegheny, 515 F.3d 224, 228 (3d Cir. 2008) (“[I]n deciding a

motion under Fed. R. Civ. P. 12(b)(6), [a district court is] . .

. required to accept as true all factual allegations in the

complaint and draw all inferences from the facts alleged in the

light most favorable to” the plaintiff).

     The Court must ask “‘not whether a plaintiff will

ultimately prevail but whether the claimant is entitled to offer

evidence to support the claims[.]’”       Bell Atl. Corp. v. Twombly,

550 U.S. 544, 583 (2007) (quoting Scheuer v. Rhoades, 416 U.S.

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232, 236 (1974)); see also Ashcroft v. Iqbal, 129 S. Ct. 1937,

1953 (2009) (“Our decision in Twombly expounded the pleading

standard for ‘all civil actions[.]’”) (citation omitted).

        Here, Plaintiff alleges that the FBI has been abducting

women from the Lindenwold PATCO line, and then “torturing them

and beating them and raping them and trying to do other forms of

torture by brainwashing them [] with lies to separate them from

friends and family and forcing them into prostitution.”          Compl.

at 3 [Doc. No. 1]    Plaintiff further alleges that PATCO

employees have been helping the FBI accomplish this task.           Id.

at 8.

        Plaintiff does not have standing to bring claims for

constitutional rights violations and intentional torts committed

against other people.     “[B]efore a federal court can consider

the merits of a legal claim, the person seeking to invoke the

jurisdiction of the court must establish the requisite standing

to sue.”    Whitmore v. Arkansas, 495 U.S. 149, 154 (1990).

Indeed, a litigant must establish he has suffered “injury in

fact” and that the injury is capable of being redressed by the

court.    Id. at 155.   Plaintiff alleges only that others have

been injured and has not stated a claim likely to be redressed

by a favorable decision.     Id.   Accordingly, Plaintiff lacks

standing to bring this complaint, and on this ground alone

Plaintiff’s complaint must be dismissed.

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        Accordingly,

        IT IS on this     14th   day of    March    , 2016

        ORDERED that Plaintiff’s IFP application [Doc. No. 1) be,

and the same hereby is, GRANTED, and the Clerk is directed to

file Plaintiff's complaint; and it is further

        ORDERED that Plaintiff’s complaint be, and the same hereby

is, DISMISSED WITHOUT PREJUDICE; and it is further

        ORDERED that the Clerk is directed to mark this matter as

CLOSED.


                                             s/ Noel L. Hillman
                                          NOEL L. HILLMAN, U.S.D.J.
Date:    March 14, 2016

At Camden, New Jersey




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